   Case 1:11-cr-00560-TSE
                      /t^*-\ Document 3 Filed 06/17/11 Page 1 of 7 PageID# 21



                                        ES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA
                                                                                       L      i      ir
                                      Alexandria Division
                                                                                       17
UNITED STATES OF AMERICA,
                                                                           CLERK, U.S. DISTRICT Cr
       Plaintiff                                     (Under Seal)             ALEXANDRIA V'°r •


                                                     Criminal Case: l:ll-mj-467
              V.




       AYMAN JOUMAA,
           a/k/a Junior,

               and


       ALEJANDRO LOPEZ,
               a/k/a Angel,

                      Defendants


                   AFFIDAVIT IN SUPPORT OF AN ARREST WARRANT
                                AND CRIMINAL COMPLAINT


       I, R. Kevin Schreiber, Special Agent with the United States Drug Enforcement

Administration, being duly sworn, depose and state as follows:

                                        BACKGROUND


       1.      I am a Special Agent (SA) with the United States Drug Enforcement

Administration (DEA), Washington Division Office (WDO). I am an investigative or law

enforcement officer of the United States, in that I am empowered by law to conduct

investigations of violations of the United States Code. I have been employed by the DEA for

approximately 15 years. I received approximately 16 weeks training at the DEA Academy in

Quantico, Virginia. I have received extensive training pertaining to narcotics investigations and

the investigation of various crimes which arise from drug trafficking.




                                                                                                          3
    Case 1:11-cr-00560-TSE Document 3 Filed 06/17/11 Page 2 of 7 PageID# 22



       2.      I am familiar with the operations of illegal drug trafficking organizations

throughout the United States, Colombia, Mexico, and Central America. 1have participated in

multiple investigations involving Court-ordered interception of wire and electronic

communications. I am familiar with the ways in which narcotic traffickers conduct their

business, including domestic and international methods of importing and distributing narcotics,

money laundering, the use of cellular telephones and digital paging devices to facilitate their

illegal acts, and the use of numerical codes and code words to conduct drug transactions. My

training and experience as a Special Agent of the DEA, and my conversations with other Special

Agents of the DEA, state and local investigators familiar with narcotics trafficking and money

laundering matters, form the basis of the opinions and conclusions set forth below, which I drew

from the facts set forth herein.


       3.       Based on my training and experience, and by consulting with other DEA agents

who are familiar with Colombian cocaine trade, I know that Colombia is responsible for 90% of

the cocaine that is imported into the United States. The cocaine that leaves Colombia is sent

along the Central American corridor to Guatemala, Honduras, and Mexico, for eventual shipment

to the United States. I also know that there is no substantial domestic drug market in the Central

American countries and Mexico for cocaine, and that the price of cocaine increases at each step

in its journey north to the United States.

        4.      Based on my training and experience, I know that the laundering of drug related

proceeds is a critical step in a conspiracy to distribute cocaine for unlawful importation into the

United States. The laundering of drug proceeds allows foreign drug traffickers to remain

undetected so that they can continue to distribute cocaine and other drugs for importation into the

United States. The laundered drug proceeds that are returned to the drug traffickers in Colombia
    Case 1:11-cr-00560-TSE Document 3 Filed 06/17/11 Page
                                                      /flfflfyv
                                                                3 of 7 PageID# 23



and other countries allow the drug trafficking conspiracy to continue by funding further drug

production and distribution aimed at importing future drug shipments to the United States. Thus,

the laundering of money is a necessary and crucial part in a drug trafficking conspiracy.

       5.      This affidavit is submitted in support of a criminal complaint charging Ayman

Joumaa, aka Junior, and Alejandro Lopez, aka Angel, with conspiracy to distribute greater than

five kilograms of cocaine for the purpose of unlawful importation into the United States (Title 21

United States Code, Sections 959 and 963).

       6.      The facts and information contained in this affidavit are based upon my personal

knowledge of the investigation as well as the observations of other law enforcement officers

involved in this investigation. All observations that were not personally made by your affiant

were related to me by the person(s) who made such observations.

       7.      This affidavit contains information necessary to support a finding of probable

cause for the complaint and arrest warrant. This affidavit is not intended to include each and

every fact and matter observed by me or known to the government.

                                        INVESTIGATION


        8.     Since approximately March 2010,1 have been involved in an investigation

targeting Lebanon-based money launderer for cocaine traffickers, Ayman Joumaa, aka Junior,

and his Colombia based partner, Alejandro Lopez, aka Angel. Through extensive interviews

with cooperating defendants and DEA confidential sources as well as undercover operations in

Colombia, Denmark, and Germany, this investigation has revealed the following:

                                      Confidential Source 1


        9.     Confidential source # 1, hereafter referred to as CS1, has pleaded guilty to federal

narcotics trafficking offenses in United States District Court and is awaiting sentencing. CSl's
    Case 1:11-cr-00560-TSE
                       J^ffh^ Document 3 Filed 06/17/11 Page 4 of 7 PageID# 24




plea acknowledges his/her participation in a conspiracy to import approximately 85,000

kilograms of cocaine into the United States from 2005 to 2007. CSl advised that he/she

participated in a conspiracy to ship multi-thousand kilogram quantities of cocaine from

Colombia, to Guatemala, Honduras, and Mexico for sale to the Los Zetas trafficking organization

in Mexico. CSl stated that the ultimate destination for these thousands of kilograms of cocaine

was the United States. CS1 is currently cooperating with law enforcement with the anticipation

of obtaining a reduction in his/her sentence.

        10.    CSl began working with Ayman Joumaa in or about 2004. CSl stated that

Joumaa, also known to CSl as "Junior", would arrange for the laundering of drug related

proceeds from Mexico, Europe (predominantly Spain), and West Africa to Colombia. CS 1

advised that he/she would contact Joumaa via email, Blackberry PIN, or telephone in order to

arrange for the delivery of drug related proceeds to members of Joumaa's organization. Joumaa

and members his organization would then launder these proceeds and return them in Colombia.

CSl stated that Joumaa would charge a fee of approximately 13% for the laundering of these

proceeds. CSl advised that the proceeds received by Joumaa and members of his organization

were in the form of United States currency. This United States currency was proceeds from the

sale of cocaine in the United States.


        11.    CSl stated that he/she would arrange for the delivery of bulk United States

currency to Joumaa and members of his organization. These deliveries from the sale of cocaine

that was shipped to the United States were made in Mexico City, Mexico. CSl advised that once

the drug proceeds were delivered to members of the Joumaa organization, the laundered proceeds

would be paid to CSl or his/her representatives in Venezuela or Colombia. Payment in

Venezuela was in the form of Bolivars. Payment in Colombia was in the form of Colombian
    Case 1:11-cr-00560-TSE Document 3 Filed 06/17/11 Page 5 of 7 PageID# 25



pesos. CSl advised that Joumaa would pay CSl and CSl's representatives within one to five

days from the date of delivery of the United States currency in Mexico. CSl advised that Joumaa

typically picked up between 2 to 4 million dollars at a time from CSl in Mexico City. CSl

stated that Joumaa continued to launder drug related proceeds for CSl until 2008.



                                       Confidential Source 2


          12.   Confidential Source #2, hereafter referred to as CS2, is currently cooperating with

law enforcement, including agents from United States Immigration and Customs Enforcement.

CS2 was a member of the drug trafficking and money laundering organization and worked

extensively with CSl. CS2 stated that he/she began working with Ayman Joumaa in or about

2004. CS2 advised that he/she also knew Joumaa by his alias Junior. CS2 advised that he/she,

at the direction of CSl, would contact Joumaa via Blackberry, email, or telephone, and arrange

for Joumaa and members of his organization, to pick up drug related proceeds in Mexico,

Europe, and West Africa. CS2 stated that he/she would coordinate with Joumaa to arrange the

pick up of United States currency in Mexico City, Mexico. Joumaa would then launder these

proceeds and repay them in Colombia and Venezuela. CS2 advised that the United States

currency laundered by Joumaa was the proceeds of the sale of cocaine shipped from Colombia to

Guatemala, Honduras, and Mexico, for sale to the Los Zetas trafficking organization in Mexico.

CS2 advised that the ultimate destination of the cocaine shipped to Los Zetas was the United

States.


          13.   CS2 stated that Joumaa would charge a fee of approximately 13% to launder the

drug related proceeds from Mexico to Venezuela and Colombia. Payment in Venezuela was in

the form of Bolivars. Payment in Colombia was in the form of Colombian pesos. CS2 stated
   Case 1:11-cr-00560-TSE Document 3 Filed 06/17/11 Page 6 of 7 PageID# 26



that he/she continued to utilize the laundering services of Joumaa until approximately 2008. CS2

stated that he/she, at the direction of Immigration and Customs Enforcement agents, continued

contact with Joumaa until approximately October 2010.

                                     Confidential Source 3


       14.     Confidential Source #3, hereafter referred to as CS3 is currently cooperating with

law enforcement with the anticipation of obtaining a reduction in his/her sentence from a pending

guilty plea in United States District Court. CS3 has acknowledged his/her participation in a

conspiracy to launder drug related proceeds from the United States, Mexico, Central America,

and Europe from approximately 1997 through September 2010. CS3 has acknowledged that

he/she laundered in excess of $250 million dollars during the course of this conspiracy.

       15.     CS3 stated that in or about 2007 or 2008 he/she was introduced to Alejandro

Lopez, aka Angel. CS3 stated that at the time CS3 met Lopez, Lopez was already involved with

the laundering of drug related proceeds from Mexico, Central America, and Europe to Colombia.

CS3 stated that Lopez's partner was an individual known to CS3 as a Lebanese individual that

went by the nickname "Junior." CS3 advised that Lopez introduced CS3 to Joumaa as Lopez's

money laundering business partner.

       16.     CS3 stated that he/she and Lopez would coordinate their money laundering

activities and provide money laundering services to each other. CS3 advised that he/she would

contact Lopez to assist CS3 with the laundering of drug related proceeds from Europe to

Colombia. CS3 stated that Lopez and CS3 would assist each other with the laundering of drug

related proceeds from Mexico, Guatemala, and Honduras to Colombia and Panama.

       17.     CS3 stated that from approximately 2008 to September 2010 he/she laundered

approximately 20 to 25 million dollars of drug related proceeds with the assistance of Lopez.
   Case 1:11-cr-00560-TSE Document 3 Filed 06/17/11 Page 7 of 7 PageID# 27




CS3 advised that the laundered proceeds derived from the shipment of cocaine to Honduras,

Guatemala, and Mexico from Colombia. The ultimate destination of this cocaine was the United

States. CS3 stated that he/she would arrange with Lopez for the pick-up of drug related proceeds

in the above mentioned locations. CS3 advised that he/she would contact Lopez via email,

Blackberry, telephone, and in person, to make arrangements for these operations. CS3 stated that

Lopez would charge a fee of approximately 14% for the laundering of the drug related proceeds.

       18.     CS3 provided agents with a detailed ledger of his/her money laundering activities

with Lopez from July 7,2010 until September 7,2010. These ledgers reveal that during this time

period Lopez and CS3 laundered approximately 4 million dollars in drug related proceeds from

Guatemala, Honduras, and Mexico to Colombia.

                                        CONCLUSION


       19.     Based on the aforementioned facts, your affiant believes probable cause exists for

a criminal complaint charging Ayman Joumaa, aka Junior, and Alejandro Lopez, aka Angel, with

conspiracy to distribute five kilograms or more of cocaine for the purpose of unlawful

importation to the United States.




                                                            R. Kevin Schreiber
                                                            Special Agent
                                                            Drug Enforcement Administration
                                                            Washington Field Office

                                       Oday
Subscribed and sworn to before me this|_/day of June 2011


               JsL
        John F. Anderson
   United States Magistrate Judge
